Division of Health Service Regulation

PRINTED: 03/02/2015
FORM APPROVED

STATEMENT OF DEFICIENCIES (<1) PROVIDER/SUPPLIERICLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
AND PLAN OF CORRECTION IDENTIFICATION NUMBER: ‘A. BUILDING: COMPLETED
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MHL088-020 B. WING 02/04/2015
NAME OF PROVIDER OR SUPPLIER STREET ADDRESS, CITY, STATE, ZIP CODE
TRAILS CAROLINA 500 WINDING GAP ROAD
LAKE TOXAWAY, NC 28747
ayn SUMMARY STATEMENT OF DEFICIENCIES ID PROVIDER'S PLAN OF CORRECTION... es
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DEFICIENCY)
V 000) INITIAL COMMENTS v900 1) To be added to students safety
agreement, located in the Phase 1
A complaint survey was completed on 2/4/15. The g
complaint was substantiated (Intake !D workbook:
#NC00102355 and NC00102381). A deficiency a) "In the event you are separated
was cited. from your group stay where you
. . are, assuming that location i
This facility is licensed for the following services: g ons
10 NCAC 27G.5200 - Residential Therapeutic safe, and call for help loudly, In
(Habilitative) Camps the event that location is not safe,
move to an area that is and con-
V 512) 27D .0304 Client Rights - Harm, Abuse, Neglect V512 tinue calling for help.
2) To be added to protocols: In the event
10A NCAC 27D .0304 PROTECTION FROM ) P . .
HARM, ABUSE, NEGLECT OR EXPLOITATION of an elopement the Primary Admin-
{a} Employees shall protect clients from harm, istrator will call law enforcement within
abuse, neglect and exploitation in accordance two hours of when the student was last
with G.S. 122C-66. seen
(b} Employees shall not subject a client to any -
sort of abuse or neglect, as defined in 10A NCAC 3) Precautionary Measures have been
27C .0102 of this Chapter. implemenied to target more clearly and
(c) Goods or services shall not be sold to or effectively expectations around student
purchased from a client except t hrough supervision. See attached description
established governing body policy. \ .
(d) Employees shall use only that degree of force to further understand the "Precautionary
necessary to repel or secure a violent and Measures,” and how they apply to
aggressive client and which is permitted by supervision.
governing body policy. The degree of force that
is necessary depends upon the individual
characteristics of the client (such as age, size
and physical and mental health) and the degree
of aggressiveness displayed by the client. Use of
intervention procedures shall be compliance with
Subchapter 10A NCAC 27E of this Chapter.
(e) Any violation by an employee of Paragraphs
(a) through (d} of this Rule shall be grounds for
dismissal of the employee.
This Rule is not met as evidenced by:
Based on record reviews, interviews, and
Division of Heaith Service Regulation
LABORATORY DIRECTOR'S OR PROVIDER/SUPPLIER REPRESENTATIVE'S SIGNATURE TITLE (48) DATE
STATE FORM S88 Y5PE11 If continuation sheet 1 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 1 of 23

PRINTED: 03/02/2015

FORM APPROVED
Division of Health Service Regulation
STATEMENT OF DEFICIENCIES (41) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
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V 512) Continued From page 1 V 512

observations, Lead Staff #1, Staff #2, and Staff
#3 subjected 1 of 7 clients to neglect and harm by
not adhering to the leve! 2 supervision protocol
(Deceased Client #1). The findings are:

Review of Deceased Client #1" s (DC #1) records
on 71/25/14 revealed:

DC #1 was a 17 year old male admitted to the
facility on 10/17/14 with diagnoses of Major
Depressive Disorder, Cocaine Abuse, and
Parent/Child Relationship Difficutties.

DC #1 did not have a history of elopement,
but had gotten in trouble in school for fighting,
and had been expelled from school for failing a
drug test.

DC #1 's treatment strategies included
Therapeutic Phase work, individual therapy,
group therapy, family therapy, psycho-education,
camping skills and techniques, sociaf skills and
communication skills training.

DC #1's safety plan included responding ico
de-escalation techniques used by staff to
minimize physical restraints, and " increased
supervision of staff until there are no longer signs
of safety issues for student (such as running
away, or self-harm). ”

DC #1 had goals for increasing self-esteem
and developing coping skills to minimize
symptoms of depression.

DC #1 's goals included developing an
increased knowledge of addiction dynamics, and
co-dependent relationships, and learning to take
responsibility for his own actions

DC #1 was placed on supervision Level 2 at
approximately 8:00 PM on 11/9/14, according to
therapist notes dated 11/10/14, " due to incident
in best notes (shift notes) in which student tried to
portray an injury in order to leave program" .

DC #1 eloped while on a camping trip with 6
other clients and 3 staff on 11/10/14.

DC #1 was discharged following his

Division of Health Service Regulation

STATE FORM

Y5PE11

If cortinuation sheet 2 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 2 of 23
PRINTED: 03/02/2015

FORM APPROVED
Division of Health Service Regulation
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V 512! Continued From page 2 V 512

elopement on 14/10/14.

DC #1 's body was found by local authorities
on 11/23/14.

Review of Lead Staff #1 's (LS #1) records on
12/3/14 and 2/2/15 revealed:

LS #1 was hired 10/23/13 as a Wilderness
Instructor.

LS #1 was currently a Lead Wilderness
Instructor.

LS #1 was certified as a Wilderness
Emergency Medicine/ First Responder through
41/18/15.

LS #1 was recertified in Nonvioient Crisis
Intervention (CPI) on1/5/2015
Review of Staff #2's (S2) records on 12/3/14
revealed:

$2 was hired as a Wilderness Instructor on
4/30/14.

$2 was current in First Aid and
Cardio-Pulmonary Resuscitation (CPR) through
May 31, 2016.

$2 was certified in CPI on 4/29/14.

Review of Staff #3 's (S3) records on 12/3/14
revealed:

$3 was hired as a Wilderness Instructor on
1/29/14.

S3 was certified in First Aid and CPR for 2
years on 1/4/14.

$3 was certified in CPI on 1/28/14.

Review of Therapist #1 's (T1) records on
12/3/14 revealed:

T1 was hired as a Therapist on 8/8/11.

T1 was licensed as a Licensed Clinical Social
Worker thru 2015,

T1 was re-certified in First Aid and CPR for 2
years on 3/11/13.

T1 was re-certified in CP] on 3/4/14.
Review of Incident Reports on 12/3/14 revealed:

An Incident Report dated 11/0/14 - 11/10/14
which documented DC #1 telling staff he had

Division of Health Service Regulation

STATE FORM

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If continuation sheet 3 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 3 of 23

PRINTED: 03/02/2015

slipped while walking to the latrine by Foothills
Campsite 88 and hit his head on a tree, The
Incident Report also documented: "He (DC #1}
had scratches on his head & (R) forearms, but no
bruising. However, concussion/ head trauma
protocol was followed: Student (DC #1) was
monitored every 15 to 30 minutes for the next 24
hours, & medical staff were notified and
consulted." In an addendum at the bottom of the
report, completed on the same day as the incent
report, it was documented that " Shortly after the
incident, another student reported that (DC #1)
had told him ‘| bet 1 can get out of here by faking
this.' ".

An Incident Report dated 17/10/14 which
documented DC #1 going to the latrine by
Foothills Campsite 85 for the 2nd time in 20
minutes. Staff placed himself on the hill above the
latrine to audibly monitor the client. DC #1 was
calling out his name, then stopped. Staff ran
down the hill, but DC was gone. Staff fanned out
te search for DC #1, and Primary Response
System (PR) was notified. The report also
documented staff felt the client had taken
advantage of latrine privacy to slip away into deep
woods, and documented staff recommendation
that closer supervision of clients using the latrine
should be practiced. The incident Report did not
documeni that DC #1 was on supervision level 2
at the time of his elopement.

Review of in-house investigation on 12/4/14
revealed:

Interview recorded in the in-house
investigation with LS #1, beginning with
confirmation of the Incident Report dated 11/9/14
- 11/10/14: "Level 2 since Sunday night 8 PM,

.. Faking head injury. ... Coming back from loo,
(DC #1) lost his footing, claimed to hit his head.
... No bruising. Complained of blurry vision and
pain in back and head. ... (DC #1) told peer (C3),

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LAKE TOXAWAY, NC 28747
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Division of Health Service Regulation

STATE FORM

Case 1:24-cv-00046-MOC-SCR

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if continuation sheet 4 of 22

Document 30-19 Filed 04/23/24 Page 4 of 23

PRINTED: 03/02/2015

‘| bet | can get out of here by faking this’. ... He
hiked fine. ... Went on a wood run with (LS#1)
and another peer (C2). (DC #1} displayed a good
mood and demeaner during. ... Staff continued
checking vitals hourly, he reported no pain. *

LS #1 then confirmed details of the incident
report dated 11/10/14. LS #1 reported: ... (DC
#1) also complained of stomach pain and went to
the bathroom at the loo. ... 20-30 minutes later
he (DC #1) asked to go to the loo again. ... (DC
#1) walked toward the Loo, (LS #1) got up and
followed him to the top of the hill. ... (OC #1)
walked down the hill and called his name. When
he took too long the staff called out his name and
he called back. They name bounced for about 30-
45 seconds. ... Staff did not see him carrying
anything. ... A student reported after the fact that
he had seen {DC #1} siam a water before gaing
to the loo. ... Another student reported missing
half a tort (tortita}. ... After (DC #1} did not
respond to a name bounce for about 10 seconds,
(LS #1) started down the hill to the loo. He told (S
#2) to came, and waited for him. They were both
heading down the hillin about 5 seconds. ...
There was no sign of {DC #1} at the loo. "

Staff called PR to report the runaway at
approximately 2:30 PM, and contacted other staff
in the surrounding area to get help in searching
for DC #1. Staff continued to search until 8:00
PM, when they were told the client had been seen
in Cashiers, NC, and they could discontinue the
search.

Interviews recorded in the in-house
investigation with S2 and S3 confirmed the
statement given by LS #1, 53 stayed with the 6
remaining clients while S2 assisted LS #1 in the
search for the client.

Interview recorded in the in-house
investigation with T1 confirmed DC #1 had been

placed on Level 2 on Sunday, 11/9/14. He

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Division of Health Service Regulation
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DEFICIENCY}
V512| Continued From page 4 V 512

Division of Health Service Regulation

STATE FORM

Case 1:24-cv-00046-MOC-SCR

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lf continuation sheet 5 of 22

Document 30-19 Filed 04/23/24 Page 5 of 23
Division of Health Service Regulation

PRINTED: 03/02/2015

FORM APPROVED

STATEMENT OF DEFICIENCIES (<1) PROVIDER/SUPPLIER/CLIA
AND PLAN OF CORRECTION IDENTIFICATION NUMBER:

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B. WING

(X2) MULTIPLE CONSTRUCTION
A. BUILDING:

(X3) DATE SURVEY

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02/04/2015

NAME OF PROVIDER OR SUPPLIER

500 WINDING GAP RCAD

TRAILS CAROLINA

LAKE FOXAWAY, NC 28747

STREET ADDRESS, CITY, STATE, ZIP CODE

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Continued From page 5

notified the client's father about an hour after the
client ran. He also contacted the county sheriff's
office at about 6:20 PM to file a missing person
report. At around 7:15 he received a call from the
sheriff's office of a sighting of the client at a gas
station in a local town. He contacted the client's
father at about 7:41 PM to notify him of the
sighting.

Interview recorded in the in-house
investigation with the Primary Response worker,
who coordinated communication between the
field siaff, the facility, and the professional and
administrative staff, confirmed he was contacted
by field staff at about 2:30 PM. He helped
coordinate the search, and made the decision
when to contact the Sheriff's office. He learned
about the gas station sighting at about 9:00 PM.
He went to the station and they confirmed DC #1
had headed north on Hwy 107 toward the town.
He continued to search along the road until
midnight, with no result.

Interviews recorded in the in-house
investigation with the Staff Development Director,
and the Program Director confirmed they
participated in the search, before and after the
gas station sighting, also with no result.

Review of Trails Carolina Wilderness Instructor
Reference Manual (TCIRM), which was
presented a field policy and procedure
Supervision manual, on 12/3/14 reveated:

Page 23, Level Watches
o Level 1 " Heightened" - Provide extra
diligence and supervision because the student
may be new or has recently been on a higher
level of waich and may need to be re-elevated.

o Level? "Eyes On"

- Student needs to be in visual contact with a staff
at all times,

- Two staff need to escort the student to the
bathroom.

V 512

Division of Health Service Regulation
STATE FORM

YSPE11

If continuation sheet 6 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 6 of 23

Division of Health Service Requlation

PRINTED: 03/02/2015
FORM APPROVED

STATEMENT OF DEFICIENCIES
AND PLAN OF CORRECTION

O41) PROVIDER/SUPPLIER/CLIA
IDENTIFICATION NUMBER:

MHLO88-020

(X2) MULTIPLE CONSTRUCTION
A. BUILDING:

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- No going out of camp and calling their name.
- Student needs to sleep ina "burrito" (unless
otherwise specified by primary therapist.
o Level 3 * Arms Length "

Page 24, (Levels) Crisis/Runaway/Suicide
Watches
o = Staff may put a student on any level watch at
any time for safety reasons due to:
Physical/Emotional Safety
Suicidal Ideations/plans/threats
- Risk of runaway
0 = Staff should notify PR as soon as possible
but also being mindful of safety, and may need to
contact Primary therapist to relay more
information if needed.
o Incident (report) should be filled out about the
circumstances the student was put on a level
waich within 24 hours.

Page 25. Latrines
o .. "Ifalatrine needs to be dug within sight
of camp a tarp will be set up as a wall to maintain
privacy. "

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Review of the Police Report dated 11/10/44 on
4/17/15 revealed:

The report spans a period from 11/10/14
through 12/4/14

tnitial contact with Jackson County Sheriff's
Department (JCSD) was made by Therapist #1
(T1} at approximately 6:30 PM on 11/10/14.

During the contact, T1 provided a description
and e-mailed a picture of DC #1 to the JCSD.

A representative of JCSD asked if a search
and rescue team should be formed and sent to
look for DC #1. T1 stated he would have to check
with his superviser, and would call JCSD back.

The JCSD representative sent out an alert,
also known as a bolo (Be On the Look-Out) to the
surrounding counties regarding the run, and

included DC #1 's description. About 10 minutes

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V 512] Continued From page 6 V 512

Division of Health Service Regulation

STATE FORM

YSPE11

If continuation sheet 7 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 7 of 23

Division of Health Service Requiation

PRINTED: 03/02/2015
FORM APPROVED

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DEFICIENCY)

V 512

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later, T1 called back and told the JCSD
represeniative that no search and rescue was
required. At that time, JCSD received a dispatch
that a first responder from the Cashiers, NC Fire
Department had seen a person matching DC #1 °
s description walking north on Highway 7107N by
the Cashiers, NC, Exxon Station, The JCSD
representative informed 71 he would check the
report and contact T1 with the results.

JCSD deputies went to the Cashiers Exxon
and questioned the staff working there. She
stated she had seen a person matching the
description walking in front of the station at about
6:00 PM. When shown a picture of DC #1, she
stated that was the individual she had seen, but
she didn ' t know anything else about him.

Deputies from JCSD then started looking for
DC #1, but didn 't find him.

On 11/11/14, JCSD received a call from DC
#1 's mother requesting information. She asked
about search and rescue, and JCSD informed her
search and rescue could have been used if DC
#1 had last been seen in a woodland area.
However, because he had last been seen in town,
the search could only take the form of the bolo
alert.

On 11/12/14, after determining that the
individuals seen by various witnesses were not
DC, JCSD planned a search and rescue, and had
a Highway Patrol helicopter do a grid search of
the area where DC #1 was last seen by facility
staff. The search had negative results.

On 11/13/14, a ground search using
alHterrain vehicles, hikers, and the Highway
Patrol helicopter was initiated. The search base
was established in a fieid by the campsite from
which DC #1 eloped. DC #1's orange safety vest
was found below the latrine area and placed in
evidence,

On 11/14/14, DC #7' s fanny pack was found

V 512

Division of Health Service Regulation

STATE FORM

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Y5PE11 if continuation sheet 8 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 8 of 23

Division of Health Service Requlaticn

PRINTED: 03/02/2015
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STREET ADDRESS, CITY, STATE, ZIP CODE

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CROSS-REFERENCED TO THE APPROPRIATE
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by searchers. The pack contained books with DC
#1°s name on them

On 11/15/14, JCSD employed a K-39 team to
help with the search. No new information as to
DC 's location resulted.

On 11/22/14, at approximately 10:30 AM, all
search teams were notified to terminate their
search. DC #1" s body had been located in a
remote area of fhe Natahala National Forest. DC
#1 's body was found in a creek at the bottom of
a gorge. His clothing matched the description
provided by T1, and were frozen to the body.

An autopsy was performed by the Jackson
County Medical Examiner (JCME) on 11/24/14 at
approximately 12:45 PM. A Detective from JCSD
was present at the aufopsy.

"X-Rays of (DC #1}"s head, neck and left
hip performed at 13:14 hours (1:14 PM}. The
X-Rays revealed a fracture of (DC #1) 's eft hip.
No other major injuries or insults were found on
the body during the autopsy. "

" (JCME) advised that the fractured left hip
was consistent with a fall from height. "

"(JCME) also advised that the cause of
death was be hypothermia secondary to a
fractured left hip. "

Observation at approximately 11:30 AM on
12/4/14 of the camp site from which DC #1
eloped revealed: :

Fhe camp site was approximately 1 and %
miles up a logging road from the main road.

An open space approximately 25 yards in
circumference is just off the logging road.

The campsite was about 10 yards into the
woods on the other side of the open space.

The camp was set up in a irlangular shape,
with the fire area to the right, and the gear
storage area to the left, forming the base of the
triangle, and closest to the open space. The tent
atea was at the tip of the triangle, and the latrine

Division of Health Service Regulation

STATE FORM

Case 1:24-cv-00046-MOC-SCR

S88 Y5PE11

If continuation sheet 9 of 22

Document 30-19 Filed 04/23/24 Page 9 of 23
PRINTED: 03/02/2015

FORM APPROVED
Division of Health Service Regulation
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V 512) Continued From page 9 V512

was approximately 50 feet fram the campsite,
downhill through moderately heavy woods and
brush.

The spot from which staff monitored DC #1
as he went to the latrine area was at the top of a
rise, about 10 feet from the campsite, and
approximately 40 to 45 feet from the latrine area.

The latrine area was surrounded by heavy
woods and brush, with no obvious paths out
except the path back to the campsite.

From ihe place where staff stood, anyone in
the latrine area could not be seen through the
trees and brush.
interview with Sheriff Department Detective #1
(SDD) on 1/11/45 revealed:

The client's body was found at about 10:30
AM on 11/22/14 by a search tear following the
creek at the base of the gorge. Visibility in that
area ranged from 25 feet to 5 feet. Then body
was found lying in the creek, partially covered
with leaves and debris, with what appeared to be
an injury to his left leg, and with DC #1 's clothing
frozen to his body. There was a reddened area on
the client's forehead from the hairline to the
bridge of the client's nose, which the JCME later
determined to have been caused by exposure.
He was found under a tree which slanted up over
the creek at about a 75 degree angle. The height
of the tree over the creek, and above where the
body was found in the creek, ranged from 13 to
15 feet. There were 4 areas on the tree trunk
where the bark and moss had been displaced, or
scraped off, which were indications the client had
climbed the tree, possibly to see the surrounding
area. The leg injury, which was later found by the
JCME to be a broken left hip, was consistent with
a fall from the tree.

The Sheriff's Department Detective #1
(SDD) was present at the client's autopsy on

11/24/14, conducted by the county Medical

Division of Health Service Regulation

STATE FORM

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YSPE11

If continuation sheet 10 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 10 of 23

PRINTED: 63/02/2015

FORM APPROVED
Division of Health Service Regulation
STATEMENT OF DEFICIENCIES (41) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
AND PLAN OF CORRECTION IDENTIFICATION NUMBER: A. BUILDING: COMPLETED
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V 512| Continued From page 10 V 512

Examiner, X-rays confirmed the client had
suffered a fracture of his left hip, consistent with a
fall from 13 to 15 feet. The reddened area on his
forehead was a result of exposure. The exact
time of death couldn ' t be determined, but the
Medical Examiner suggested the client had fallen
into the creek on the same day he ran, fracturing
his hip. The cause of death was determined to be
Hypothermia, secondary to a left hip fracture.
SDD also stated the client was found
approximately 580 yards from the latrine where
he eloped, and about 100 to 120 yards from

. where his pack was found. Search teams had

covered the area before, but the vegetation was
so thick down around the creek that the body
could easily have been missed unless you were
right down in the creek bed.

Interview on 12/3/14 with Lead Staff #41 (LS #1)
revealed:

Lead field instructor since October 2043.

Staff #2 reported on Sunday, 11/9/14, that
deceased client (DC #1} had been found on the
ground and may have hit his head when
separated from the group to use the bathroom.
Staff executed "concussion pratacol" although
DC #1 did not demonstrate symptoms typical of a
concussion.

Staff assessed his condition and continued to
monitor his vitals every 15 minutes.

The therapist was contacted who instructed
field staff to increase supervision of DC #1 to
Level II.

DC #1 was "burritoed" between two staff
and kept awake throughout the night. Staff
continued to check his vitals throughout the night.

On Monday, 11/10/14, the camp was moved
approximately 1 % miles.

DC #1 seemed to feel better on Monday
aithough somewhat sluggish due te lack of sleep.

Staff continued to maintain level II

Division of Health Service Regulation

STATE FORM

YSPE11

If continuation sheet 11 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 11 of 23
Division of Health Service Regulation

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STATEMENT OF DEFICIENCIES (A1) PROVIDER/SUPPLIER/CLIA
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NAME OF PROVIDER OR SUPPLIER

500 WINDING GAP ROAD
LAKE TOXAWAY, NC 28747

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supervision (" eyes on" ) of DC #1.

On Monday afternoon DC #1 asked to go to
the "loo" (latrine), He went once, returned, and
then asked to go again 20 minutes later.

LS 7 stocd at the top of the hill and watched
DC #1 go down the hill to the latrine.

DC #1 had been instructed to call his name
audibly every 5-10 seconds while going to the
latrine.

LS #1 lost sight of DC #1 when DC #1 was
approximately 40 feet away.

DC #1 was no longer calling his name
audibly.

He and Staff #2 then went toward the latrine
area and began looking for DC #1.

Interview on 12/3/14 with Staff #2 revealed:

Field instructor since April 2014,

On Sunday 11/9/14 DC #1 asked to go to the
latrine. Although not on a specific supervision
level at that time he was required to call his name
audibly when separated from the group to go to
the latrine.

When DC #1 quit calling his name audibly
Staff #2 went to find him and he was laying on his
back near afog. DC #1 indicated that he had
fallen and hit his head.

He assessed DC #1 and noted superficial
scratches on arm and forehead. No knot,
swelling, or bruising observed. He then advised
the Lead Field Instructor, LS #1, who responded.
Staff assessed DC #1 's vitals and executed the
“ concussion protocol " .

Client #3 informed him that DC #1 had stated
“he would get out of here by tonight ".

Supervision of DC #1 was increased to level
Ul after the incident on Sunday.

Level II supervision meant “eyes on”,
see hands and a front view" of the client. At
night on level II a client is "burritoed" between

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V 512

Division of Health Service Regulation

STATE FORM

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Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 12 of 23

PRINTED: 03/02/2015

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Division of Health Service Regulation
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V 512) Continued From page 12 V512

staff.

Staff alternated throughout the night shift to
ensure DC #1 stayed awake.

Next day (Monday) DC #1 seemed better.

Camp was relocated on Monday and when
set up the fatrine was approximately 70 yards and
down a hill away from camp.

DC #1 went to the latrine once and then
shortly thereafter wanted to return to the latrine.

Lead Siaff #1 followed DC to the top of the
hill. DC #1 was calling his name audibly every 5-
10 seconds but then quit. Lead Instructor
instructed him to call his name twice. DC #1
responded back but when instructed again for the
third time DC #1 did not respond.

He and Lead instructor #1 ran to the latrine
area but DC #1 was not there.

Interview on 12/3/14 with Staff #3 revealed:

Field Instructor since February 2014.

On Sunday when going to the latrine DC #1
indicated he fell and hit his head.

Staff #2 and Lead Field Instructor #7
evaluated his condition and executed the "
concussion protoco! ” .

DC #1 "acted out of it". He had superficial
scratches on forehead but no bruising. He did
not present like someone who had experienced a
strong blow to the head.

His vitals were monitored and documented.

Therapist #1 (T1) instructed staff to increase
his supervision to a level H.

Level II supervision was " eyes on at all
times ", use a burrito at night, and pocket checks
before using the latrine or going to bed. No packs
were Eaken to the loo.

Fhroughout the night staff were checking DC
#1's vitals every 30 minutes.

Monday staff continued to check DC #1's
vitals every 30 minutes.

Division of Health Service Regulation

STATE FORM

YSPE11

lf continuation sheet 13 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 13 of 23
PRINTED: 03/02/2015

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Division of Health Service Regulation
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On DC #1 's second request to go to the
latrine, Lead field instructor #1 went with him. DC
#14 left camp cailing his name audibly every 5
seconds.

Latrine was located outside of the camp
down a path, approximately 30 yards from center
of camp.

Lead Field Instructor #1 was standing 10-15
feet from the edge of camp at the top of the hill
when DC ## went to the latrine.

Staff #2 and Lead Field Instructor #1 went
down to the latrine when DC #1 quit calling his
name audibly. He stayed with the resi of the
group,

Interview on 12/8/14 with an officer of a locat
Sheriff's Department revealed:

If the camp had contacted their office
immediately law enforcement would have come
to the scéne or made contact with someone in
charge and then notified the Volunteer Rescue
Squad to begin a "hasty search" .

" Hasty search " means quick, fast and ina
hurry. This type of search would have placed
people on roads and the marked trails.

The Volunteer Rescue Squad could have
been there within an hour had they been notified.

The officer stated he believed if more people
had been in the woods searching for him (DC #1)
they may have been able to hear him.

Interview on 12/22/14 with the father of DC #1
revealed:

He was notified at 4:31pm by the therapist
that DC #1 had disappeared and staff were
searching for him.

At 7:41pm that same night he received
another cali that there had been a " potential
sighting" of DC #1 at a local gas station.

The camp felt this "sighting " was a good

Division of Health Service Regulation

STATE FORM

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YSPE11

continuation sheet 14 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 14 of 23

Division of Health Service Regulation

PRINTED: 03/02/2015
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STATEMENT OF DEFICIENCIES (A1) PROVIDER/SUPPLIER/CLIA
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V 512

Continued From page 14

match to DC #1 and felt confident that he had
made it out of the woods. .

lf was troubling to him that the camp could
make the assumption that "a city kid” could
make it out of the wood that easily.

Search and rescue were not called until after
dark.

Real delay before the search actually started.
The search did not actually start uniil
Wednesday.

Tuesday was spent exploring the " sighting "
at the gas siation. It was determined that law
enforcement could not confirm that he was aut of
the woods.

DC #1 was found 530 yards from the
campsite. A JCSD representative had informed
him that DC #1 died the same day he left.

The first 42-24 hours was critical.

DC #1 was not a runner, risk taker and he did
not take chances.

The camp did @ good job staying in touch with
him throughout the process.

He had been notified by the therapist that DC
#1's mother wanted to pick him up from the
program. He indicated that he had talked with
DC #1 's mother who stated she had spoken with
the therapist and agreed to a follow up phone call
with DC #1 and that he could stay in the program
if that was what he wanted to do.

Telephone interview with mother of DC #1 on
11/24/14 revealed issues she wanted to convey to
surveyors:

Sheriff’ s department office had told her
when they found the body, they had not had
someone sent in to interview the other kids in the
program.

The facility Executive Director had told her
that the day her son went missing, he had hit his
head. She was told staff had to wake DC #1 up

V 512

Division of Health Service Regulation

STATE FORM

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Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 15 of 23

PRINTED: 03/02/2015
FORM APPROVED
Division of Health Service Regulation i

STATEMENT OF DEFICIENCIES (41) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION (3) DATE SURVEY

AND PLAN OF CORRECTION IDENTIFICATION NUMBER: A. BUILDING: COMPLETED

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TRAILS CAROLINA

V512| Continued From page 15 V512

every hour.

She had wanted to pick up DC #1 on
Monday, 11/10/14, but T1 wanted to her wait to
talk to DC #1 by phone on Tuesday, 11/11/44,
before picking him up, which she agreed to do.

T1 said DC #1 didn't like the woods, and she felt
he was not respectiul of DC #1° s feelings.

Camp staff gave the police the wreng
description of her son's clothing.

She was told by detectives that if her son had
been reported as lost rather than a runaway, her
son may have been found faster. She didn 't
believe he had run, because he wasn't the
outdoors type, and wasn" t a hiker.

She'd been told by police that other kids had
run away from the program. -

She felt she had been treated very
unprofessionally by facility staff.

She had hired a private investigator to look
into her son’ s disappearance.

Interview on 12/4/14 with the Executive Director
revealed:

Level II supervision is eyesight at ail times.

Although protocol for level II supervision
indicated a staff escort to the latrine, that
requirement was not usually enforced.

Clients calling their names had become
standard practice when going to the bathroom
regardless of the level of supervision.

" Abundantly clear that there was a lack of
clarity around the Jatrine. "

Clients were not supposed to go out of camp
calling their name. After a prior incident with
clients who ran from camp the audible name
bounce was not to be used, " had to be visual”.

Her expectation for the latrine would have
been to set up closer to camp and to “tarp” the
Jatrine to afford a client privacy, as described in
the Trails Carolina Instructor ' s Reference
‘Division of Health Service Regulation
STATE FORM Bese YS5PE11 Ifcontinuation sheet 16 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 16 of 23
PRINTED: 03/02/2015
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Division of Health Service Regulation

STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA (X2} MULTIPLE CONSTRUCTION {X3} DATE SURVEY

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TRAILS CAROLINA

V512| Continued From page 16 V 512

Manual.

She was not comfortable with the distance
Lead Field Instructor #1 was to DC #1 when DC
#1 went to the latrine. He did not have DC #1
within his eyesight.

Acknowledged that 2 staff members had left
the group to execute the search for DC #1 Seaving
one staff members with the remainder of clients .

When DC #1 disappeared they were able to
quickly bring in additional. staff to start looking for
him.

Law enforcement notified approximately 4
hours after disappearance.

Staff continued to search after dark primarily
on the roads after 2 people confirmed that he was
sighted at a local gas station.

The camp had no specific protocol for
contacting law enforcement.

After police are called "you lose control” .

She had been notified after incident when DC
#1 indicated he fell and hit his head on the way to
the latrine. Staff informed her of their response
and the physical assessment of DC #1. Staff
indicated they were monitoring DC #1 and had
implemented the "concussion protocol". She
advised ther fo continue to monitor DC #1 and
call primary response to report changes.

The camp does not have a " concussion
protocol". The camp has a system for response
and communication.

"Concussion Protocol” is terminology that
was used by field staff.

New clients were outfitted and staff oriented
them to the program. They were taught hiking
and camping protocols. The clients worked
through " phase books " which contained
wilderness basics, such as staying warm, and fire
starting.

Clients are not taught what to do if separated
from the group. There should never be a time
Division of Health Service Regulation
STATE FORM eee YS5PE11 ff continuation sheet 17 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 17 of 23
Division of Health Service Regulation

PRINTED: 03/02/2015

STATEMENT OF DEFICIENCIES
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that a client would be separated from their group.

Interview on 12/3/14 with the Therapist #1
reveaied:

He had instructed field staff to execute fevel Il
supervision with DC #1 due to the possibility of a
concussion and because another client reported
that DC stated he had faked his injury to get out
of camp.

Level JE supervision was eyesight at all times,
being able to see face and hands, being within 20
feet of client, and having clients sleep in a burrito.
Calling out name only was not sufftcient.

- Qn Saturday, 11/8/14, DC #1 's mother
calied and wanted to pick up DC #1 from the
program. She thought he had completed enough
of the program and needed to return to school.
He informed DC #1 's mother that they could
arrange a call with DC #1 on Tuesday 11/11/14 to
discuss his transition out of the program. DC #1°
s mother agreed to the phone call on 1111/14.
DC #1's father was informed of this call and the
plan for a follow up call with DC #1.

DC #1 had disclosed to him in prior sessions
that he did not want to see his mother and would
run if he did.

Interviews on 11/25/14 with 6 current clients
revealed:

All 6 interviews confirmed the sequence of
events as related by staff in their interviews and in
the incident reports. None of the clients believed
DC #1 had suffered a head injury.

Client #3 also confirmed that DC #1 had told
him we was faking a head injury in order to get
back to base camp. Client #3 stated he told staff
what DC #1 had said right after the alleged head
injury incident.

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Division of Heatth Service Regulation

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Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 18 of 23

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STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
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TRAILS CAROLINA

V 512) Continued From page 18 V512

Plan of Protection completed by Program Director
on 12/9/14

Action Items

1) Re-work level system structure with clinical
team input.

a) Meetings began 10/20/2014

b) Level System changes were finalized
11/17/2014

¢) Field Staff were trained to new Level System
11/19, and 11/26

d)} See attached for " Field Guide to Safety
Watches " decument (given to field staff for
reference).

2) Hire additional field support

a) Interview process began 10/17/2014

b) Hired: 11/14/2014 (SM) hired as new field
manager with Risk Management focus for the
first 3 months of role ( over 5 years in industry at
3 programs, background in risk management and
heavily involved with Outdoor Behavioral Health
Council).

3) Internally review and debrief incident (leading
up to run, run itself, and response).

a) interviews conducted 14/12/2014

b) Use of run as training tool for field staff

i) 11/49/14 shift Completed

i} §=©12/3/14 Shift Completed

4) New Bathroom Supervision Policy

a) Created 12/1/2014: (see attached: "
Supervision: Bathroom/ Supervision P&P "}

i) Portable Potty Tents added to group gear-to
start 12/8

b) 12/3/14 Shift Trained

c) 12/10/14 Shift TO BE Trained

5) Provide grief education and counseling to all
Division of Heatth Service Regulation
STATE FORM sag YSPEt1 If continuation sheet 19 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 19 of 23
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STATEMENT OF DEFICIENCIES (<1) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION {X3) DATE SURVEY

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TRAILS CAROLINA

V 512) Continued From page 19 Vv 512

staff

a) 11/24/2014 - Day Time Staff

by 11/16/2014 - All Field Staff

c) 12/3/14 - Field Staff (additional support for

people as they work through process over time

d} Ongoing counseling resources provided far
all staff

Level 2 Risk

- Staff willhave "eyes on" student and within
close proximity - ability for staff to effectively
respond to the given activity (i.e. camp, sports on
fieic}

~ Staff will position themselves by student
during hiking, wood runs, PRTs, Medicine
spots/IVWVS, and group sessions

- Staff will increase ' check-ins" with the
students through the day, evening, and night

- Staff will provide safety for students at night
by placing student in a burrito (unless otherwise
stated by primary therapist)

- All activities requiring disbursement (i.e. not
in a contained area, bathroom, wood run, hiking)
staff must remain within close proximity of a
student and have eyes on at all times.

Plan for Implementation

1} Completed

2} Completed

3} Completed
4) Partial Completion: 1 shift to be trained,
leadership will be dropping into groups to monitor
adherence to new policy

In accordance with general Statute 122C-24.1: if
you believe this to be a Past Corrected Violation,

Piease answer the questions below.

Past Corrected

Division of Health Service Regulation
STATE FORM ee08 Y5PE11 If continuation sheet 20 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 20 of 23
Division of Health Service Regulation

PRINTED: 03/02/2015

FORM APPROVED

STATEMENT OF DEFICIENCIES

(41) PROVIDER/SUPPLIER/CLIA

(X2} MULTIPLE CONSTRUCTION

(X3) DATE SURVEY

Preventative Measures:

1} Staff were re-trained to understanding of "
line of sight" in context of Level 2

2) Debrief of prior runaway incidents related to
supervision issues

How and When Corrected:

1) "Line of Sight” /Level Training
a) Training Dates

i) 10/8/2014 Shift

ii) = 10/15/2014 Shift

b) Method

i} Group Discussion

ii} Visual context and examples
iii) Printed review sheet for staff
2) Runaway case Study Debrief
a) Training dates

i} 10/8/14

ii} $1054

b) Method

i) Sequentially talk through events leading up to
the run incidents, pause at intervals identifying :
ted flags, critical decisions, and concrete ways to
manage the situations differently

Maintain Compliance

1) Management tear members visiting field
groups unannounced te monitor and address
adherence to Level watch policies

system to Ensure Compliance

1) Quarterly trainings regarding level systems
and supervision

2) Documented drop-in review process

This deficiency constitutes a Type Ai rule
violation, and musi be corrected within 23 days.
An administrative penalty of $12,000.00 is
imposed. If the violation is not corrected within 23

AND PLAN OF CORRECTION IDENTIFICATION NUMBER: A BUILDING: COMPLETED
Cc
MHL088-020 8. WING 02/04/2015
NAME OF PROVIDER OR SUPPLIER STREET ADDRESS, CITY, STATE, ZIP CODE
500 WINDING GAP ROAD
TRAILS CAROLINA
LAKE TOXAWAY, NC 28747
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TAG REGULATORY OR LSC IDENTIFYING INFORMATION} TAG CROSS-REFERENCED 70 THE APPROPRIATE DATE
DEFICIENCY)
V 512) Continued From page 20 V 512

Division of Health Service Regulation

STATE FORM

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Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 21 of 23

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FORM APPROVED
Division of Health Service Regulation
STATEMENT OF DEFICIENCIES (<1) PROVIDER/SUPPLIER/CLIA (X2} MULTIPLE CONSTRUCTION (X3} DATE SURVEY
AND PLAN OF CORRECTION IDENTIFICATION NUMBER: . COMPLETED
A. BUILDING:
Cc
MHL088-020 B. WING 02/04/2015
NAME OF PROVIDER OR SUPPLIER STREET ADDRESS, CITY, STATE, ZIP CODE
500 WINDING GAP ROAD
TRAILS CAROLINA
LAKE TOXAWAY, NC 28747
MA} ee SUMMARY STATEMENT OF DEFICIENCIES hee ID Oe fo, PROVIDER'S.PLAN.OF CORRECTION ow | be eee
PREFIX (EACH DEFICIENCY MUST BE PRECEDED BY FULL PREFIX (EACH CORRECTIVE ACTION SHOULD BE COMPLETE
TAG REGULATORY OR LSC IDENTIFYING INFORMATION} TAG CROSS-REFERENCED TO THE APPROPRIATE DATE
DEFICIENCY)
V 512; Continued From page 21 V 512
days, an additional administrative penalty of
$500.00 per day will be imposed for each day the
facility is out of compliance beyond the 23rd day.
Division of Health Service Regulation
STATE FORM seve Y5PE11 if continuation sheet 22 of 22

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 22 of 23
_ PRECAUTIONARY MEASURES

With the intention of ensuring quality care for our students, the following
precautionary measures shail be observed in an effort to provide an
_ &nvironment of security and therapeutic value.

The therapeutic relationship is the most powerful tool we have in assisting students in
maintaining their own safety and in making effective choices towards overcoming their life
challenges. To this end, all students will be supported by Relational Supervision.

RELATIONAL SUPERVISION: RS

Relational Supervision means knowing and having an understanding of the students. This
includes an understanding of their emotional state, the struggles they are working through, their
history, their physical whereabouts, the activities they are engaged in, and their progress or lack
there of in phase work. Relational Supervision develops by devoting time to build an appropriate
therapeutic relationship with the students in a Staff member's care.

At times it may be necessary to increase the therapeutic relationship based on a student's
perceived needs, the threat or actual attempt of acts that would jeopardize safety, or failure to
follow rules. At these times the therapeutic relationship will be strengthened through the use of
increased precautionary measures.

During these times a Therapist or Primary Administrator can assign Wilderness Field Instructors
(WEI} to exercise Assigned Relational Supervision.

ASSIGNED RELATIONAL SUPERVISION: ARS

The ARS process requires the lead WF to assign supervision of the student at risk (or perceived
risk} to a WEI for increased oversight. The supervising WFI will follow procedures outlined in the
student's Individualized Precautionary Measures (“IPM”) (defined below).

A WFI can increase RS to AP or a WFI can increase ARS io AP but a VFI cannot increase RS
to ARS.

ASSIGNED PROXIMITY : AP

AP means that a studentis assigned to and in proximity of a Staff member with appropriate
distance for Staff to respond to escalated and crisis behavior. Other precautions of ARS and RS
are followed as appropriate.

Individualized Precautionary Measures: IPM

Primary Therapist or Primary Administrator will develop an IPM as needed for the purpose of
providing WF with guidance on the appropriate level of care required for a student along with
guidance for decreasing precautionary measures as applicable. IPM’s can only be removed
by the Primary Therapist or Primary Administrator.

Case 1:24-cv-00046-MOC-SCR Document 30-19 Filed 04/23/24 Page 23 of 23
